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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

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     Counsel
     In re:                                                      Chapter 11

     LTL MANAGEMENT LLC,1                                        Case No.: 23-12825 (MBK)

                                  Debtor.                        Judge: Michael B. Kaplan




 1
     The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
     Street, New Brunswick, New Jersey 08933.


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     LTL MANAGEMENT LLC,

                             Plaintiff,
     v.

     THOSE PARTIES LISTED ON APPENDIX A                        Adv. No.: 23-01092 (MBK)
     TO COMPLAINT and JOHN AND JANE
     DOES 1-1000,                                              Hearing Date and Time:
                                                               May 9, 2023 at 1:00 pm ET
                             Defendants


          OMNIBUS OBJECTION OF THE AD HOC COMMITTEE OF SUPPORTING
           COUNSEL TO MOTIONS FOR CERTIFICATION OF DIRECT APPEAL

           The Ad Hoc Committee of Supporting Counsel (the “AHC of Supporting Counsel”), by

 and through its counsel, Paul Hastings LLP, Cole Schotz P.C., and Parkins & Rubio LLP, hereby

 submits this objection (the “Objection”) to the Request of Official Committee of Talc Claimants

 for Order Certifying Direct Appeal of Preliminary Injunction Order of April 20, 2023 to the United

 States Court of Appeals for the Third Circuit [ECF No. 84] (the “TCC Motion”); Ad Hoc Group

 of Mesothelioma Claimants’ Motion for Order Certifying Direct Appeal of Preliminary Injunction

 Order of April 20, 2023 to the United States Court of Appeals for the Third Circuit [ECF No. 88]

 (the “Meso. Motion”); and Paul Crouch’s Motion and Joinder for Order Certifying Direct Appeal

 of Preliminary Injunction Order of April 20, 2023 to the United States Court of Appeals for the

 Third Circuit [ECF No. 89] (“Crouch Motion” and with the TCC Motion, the Meso. Motion, and

 the Crouch Motion, the “Motions”2 of the moving parties, the “Movants”), and in support of this

 Objection, the AHC of Supporting Counsel respectfully states as follows:




 2
  All three Motions seek certification of a direct appeal to the Third Circuit of the PI Order (as defined below). The
 Motions rely heavily on the Third Circuit’s recent decision to dismiss the Debtor’s bankruptcy case filed in 2021 (the
 “2021 Chapter 11 Case”), In re LTL Management, No. 22-2011 (3d Cir. Mar. 31, 2023) (the “Third Circuit Dismissal
 Decision”).

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                                        PRELIMINARY STATEMENT3

            The AHC of Supporting Counsel believes this chapter 11 case (the “Chapter 11 Case”) is

 at the precipice of being resolved through a legitimate chapter 11 plan process. The plan will

 provide for prompt payment to talc victims through confirmation of a plan that complies with the

 requirements of section 524(g) of the Bankruptcy Code. The outcome will be of enormous benefit

 to the talc victims, who will have the opportunity to vote on that plan, as opposed to having those

 claimants suffer through the delays and risks of recovery associated with pursuing their claims

 through the tort system.

            There is nothing novel about this Court’s issuance of the preliminary injunction in this

 Chapter 11 Case. Preliminary injunction orders are often entered at the commencement of a

 chapter 11 case to stay litigation that is determined to have an adverse impact on the Debtor’s

 estate and its reorganization efforts. In truth, the Motions here are not primarily directed at the

 preliminary injunction, rather the Motions are a tactic to allow the Movants to argue for dismissal

 of this Chapter 11 Case to the Third Circuit. This tactic, however, is procedurally flawed and

 should not be rewarded given the pending motions to dismiss before this Court. At that time, the

 issue will become ripe for appellate review.

            The injunction under the PI Order was issued in accordance with controlling Third Circuit

 law and simply maintains the status quo for a limited duration as this case progresses. Allowing

 for direct appeal of the preliminary injunction order will just encourage the Movants to try to deny

 the Debtor, and other significant parties in this Chapter 11 Case, a fair and appropriate opportunity

 to defend against dismissal while allowing the Movants to escalate the issue of dismissal to the

 Third Circuit, an appellate forum the Movants obviously consider will be favorably disposed to



 3
     Capitalized terms used but not defined in this introductory section have the meanings given below.

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 them.4 This attempt to circumvent the Court’s own process to consider dismissal of this Chapter

 11 Case, which is tentatively scheduled to go to hearing in June 2023, in and of itself is reason to

 deny the Motions.

         The Motions also fail to meet the standards for direct certification under 28 U.S.C. §

 158(d)(2). The injunction under the PI Order is limited in duration and was entered by this Court

 only after it expressed concerns about “whether the Debtor had an adequate opportunity to

 respond” to the motions to dismiss filed by the Movants. See PI Opinion at 21. That injunction is

 narrowly tailored to give the Debtor an opportunity to establish a record to address the many

 “unanswered questions” that are dispositive for the motions to dismiss. See id. at 23. The Court’s

 ruling on the PI Order is supported by established Third Circuit legal standards and the Movants

 fail to satisfy the legal standards for direct appeal.

         The Motions rely heavily on the first prong of 28 U.S.C. § 158(d)(2): that the order involves

 a “matter of public importance.” The case law and history of that provision show that it meant to

 provide a mechanism for purely legal issues not heavily dependent on the particular facts of a case

 to be decided. The PI Order, which is outlined in a fact-intensive decision through the PI Opinion,

 is not within that intended scope. The PI Opinion rests on the particular facts of this Chapter 11

 Case, and it does not come close to presenting purely legal issues. The temporary relief under the

 PI Order is unlikely to be of precedential importance for litigants in other cases.

         The Motions are equally unavailing on whether the PI Order involves a “question of law

 as to which there is no controlling decision.” There is no dispute that the Third Circuit’s decisions

 are controlling, and this Court recognized as much and, to its credit, went out its way to make clear



 4
  The Movants’ offensive against this Chapter 11 Case and their attempt to circumvent this Court is taking place on
 other fronts. On May 2, 2023, the TCC filed its Public Petition for Writ of Mandamus of Official Committee of Talc
 Claimants with the United States Court of Appeals for the Third Circuit [ECF No. 387].

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 that the PI Decision operates within the confines of the Third Circuit Dismissal Decision. The

 Movants are not able to establish that the PI Order does not follow controlling law of the Third

 Circuit with respect to issuance of an injunction. Instead, the Movants try to obscure the two

 separate concepts of injunctive relief and dismissal to argue that the issuance of the injunction

 violates the Third Circuit Dismissal Order. This argument fails. This Court acknowledged that it

 is bound by the Third Circuit Dismissal Decision and it applied appropriate controlling law in

 issuing the PI Order.

            And though the Movants wish to skip the percolation of the appeal, only the standard

 progression of appeals will materially advance the progress of this proceeding. Courts have long

 cautioned about the risks of intervention by appellate courts when things remain in flux. Not only

 are all of those risks present here, but the circumstances here are ripe for gamesmanship by clever

 litigants seeking to divest trial courts of control over their cases. The Motions should be denied.

                                                    OBJECTION

            1.          By their Motions, the Movants ask this Court to certify the appeal of the PI Order5

 for direct review by the Third Circuit pursuant to 28 U.S.C. § 158(d)(2). That statute provides that

 the appropriate court shall certify a direct appeal to the applicable court of appeals when:

                 (i)     the judgment, order, or decree involves a question of law as to which
                         there is no controlling decision of the court of appeals for the circuit
                         or of the Supreme Court of the United States, or involves a matter of
                         public importance;

                 (ii)    the judgment, order, or decree involves a question of law requiring
                         resolution of conflicting decisions; or

                 (iii) an immediate appeal from the judgment, order, or decree may
                       materially advance the progress of the case or proceeding in which
                       the appeal is taken.



 5
     Capitalized terms used but not defined herein shall have the meaning ascribed to them in the TCC Motion.

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 28 U.S.C. § 158(d)(2)(A). Courts have generally analyzed section 158(d)(2)(A) as containing four

 disjunctive factors, breaking out the first prong of the statute into two subparts: “no controlling

 decision” and “matter of public importance.” See In re Millennium Lab Holdings II, LLC, 543 B.R.

 703, 708 (Bankr. D. Del. 2016) (finding 28 U.S.C. § 158(d)(2)(A) actually provides “four disjunctive

 criteria as subpart (i) sets forth two separate benchmarks for certification,” namely no controlling

 decision, matter of public importance, resolution of conflicting decisions, and material advancement

 of the case). “The twin purposes of th[is] provision [are] to expedite appeals in significant cases and

 to generate binding appellate precedent in bankruptcy, whose case law has been plagued by

 indeterminacy.” In re Pacific Lumber Co., 584 F.3d 229, 241-42 (5th Cir. 2009) (citing H.R.Rep.

 No. 109–31 pt. I, at 148 (2005)). In their Motions, the Movants argue that at least three factors are

 present and thus direct certification should be granted. However, for the following reasons, the

 Motions do not satisfy any of the requisite factors.

   I.    This Court Properly Applied Controlling Decisions of the Third Circuit.

         2.       Under the first prong of the 28 U.S.C. § 158(d)(2)(A) analysis, the order being

 appealed must involve “a question of law as to which there is no controlling decision.”

         3.       The Third Circuit has issued controlling decisions that govern the granting of

 injunctions, and this Court applied that controlling law in its PI Decision. The Third Circuit

 Dismissal Decision, on the other hand, governs motions to dismiss. These two categories of Third

 Circuit authority—one category governing injunctions and one governing motions to dismiss—

 address two entirely different types of relief. Nonetheless, the Movants ambitiously seek to

 misdirect this Court into applying the Third Circuit Dismissal Decision to adjudicate the




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 injunction—the conceit of the Motions is to reframe the longstanding law governing injunctive

 relief. This Court has already rejected this as an exercise in misdirection.6

          4.        The Movants labor mightily to conflate the two separate concepts of a “preliminary

 injunction” and a “motion to dismiss.” This is intended to detract attention from the limited effects

 of the injunction under the PI Order that prohibits nothing other than certain trials and appellate

 practice for only sixty days. See PI Order at ¶ 3. That temporary relief is not subject to the Third

 Circuit Dismissal Decision. Instead, the Third Circuit Dismissal Decision adjudicated the initial

 motions to dismiss, which constituted wholly independent relief that permanently disposed of the

 2021 Chapter 11 Case.

          5.        The Movants nonetheless argue that the Third Circuit needs to establish that its

 decision on dismissal is controlling, reasoning that the Debtor “refuses to accept the Third Circuit’s

 decision.” See TCC Motion at ¶ 21. To be clear, the AHC of Supporting Counsel does not contend

 that the Third Circuit Dismissal Decision is not controlling. To the contrary, the Third Circuit

 Dismissal Decision is meaningful authority for the standards that must be applied by courts

 presented with a motion to dismiss in a bankruptcy case. And the Third Circuit Dismissal Decision

 did just that—it applied the standards to the particular facts presented to it in the 2021 Chapter 11

 Case and then, and only then, did the Third Circuit dismiss the 2021 Chapter 11 Case. The import

 of that decision is clearly confined to the facts of the 2021 Chapter 11 Case, and those facts are

 readily distinguishable from this Chapter 11 Case. See Opinion Dissolving Temporary Restraining



 6
   Recognizing the Movants’ attempt to distract attention away from the narrow relief set forth in the PI Order, this
 Court carefully crafted its PI Opinion—it is scattered with references to the Third Circuit Dismissal Decision that only
 reaffirm this Court’s alignment with the Third Circuit Dismissal Decision. See PI Opinion at 12-13 (“Nothing
 presented in . . . the Third Circuit’s Opinion changes that analysis” and “Nothing offered in the Third Circuit’s
 Opinion . . . compels deviation from this Court’s prior ruling”); id. at 13-14 (explaining that “the Third Circuit’s
 Opinion does not demand reconsideration of this matter”); id. at 22 (explaining that “this Court is constrained to apply
 the Third Circuit’s ruling to the facts of the present case”); id. at 25 (“nothing in the Third Circuit’s decision regarding
 Debtor’s financial distress precludes this Court from concluding . . . “).

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 Order, Extending the Automatic Stay, and Granting Limited Preliminary Restraints (“PI Opinion”)

 [Adv. ECF No. 94] at 17 (“this Court believes the focus should be on whether anything changed

 in the debtor’s financial picture”); id. at 22 (explaining that “the question of financial distress

 remains an open one for now” and “the Debtor’s financial circumstances have changed since the

 time of the last filing”). The relief granted under the PI Order, the Movants seem to argue, has the

 effect of “flouting” the Third Circuit Dismissal Decision. See TCC Motion at ¶ 1. The Movants

 blithely overlook the reason why this Court entered the PI Order in the first place.

         6.       The PI Order provides for a limited injunction against certain trials and appellate

 practice, and it does so only for a period of sixty days. See PI Order ¶ 3. The essence of this

 procedural device is to maintain the status quo in order to give the Debtor an opportunity to resolve

 the substantive issue on the merits—it is intended to prevent actions that could moot the need for

 the hearing that the injunction is intended to facilitate. That substantive issue is whether to dismiss

 this Chapter 11 Case, and this Court will hear that issue in less than six weeks.7

         7.       The Movants’ only way around this is to conflate the limited relief under the PI

 Order with the substantive relief of dismissal. Ironically, the Motions are filled with facts and

 analyses that belong in the motion to dismiss briefing. See PI Opinion at 9 (“the Objecting Parties’

 arguments in this respect are premised primarily on their contention that the instant bankruptcy

 was filed in bad faith”); id. at 22 n. 11 (“the Court notes that the TCC has already filed a Motion

 to Dismiss . . . and perceives that as the more appropriate vehicle to directly address the issue and

 develop the necessary factual support”).8


 7
   As this Court explained, the record for that substantive issue was not developed at the time of entry of the PI
 Order, and the Debtors are entitled to an adequate opportunity to address that issue. See PI Opinion at 19-21.
 8
   Undaunted, the Movants argue that this Court flipped the burden of proof. See TCC Motion at ¶ 8. This cannot be
 further from the truth—the PI Opinion emphasized that the burden rests on the Debtor, consistent with Third Circuit
 authority. See PI Opinion at 16 n. 9. There can be no doubt that this Court followed the Third Circuit’s controlling
 authority on issuing a preliminary injunction. See PI Opinion at 15 (relying on McTernan v. City of York, Pa., 577
 F.3d 521, 527 (3d Cir. 2009)).

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           8.     The relief sought by the Movants is misguided for another reason: the PI Order rests

 on extensive factual findings from a copious record. This alone makes the appeal inappropriate to

 certify for direct review. See In re Am. Home Mortg. Inv. Corp., 408 B.R. 42, 44 (D. Del. 2009)

 (“[I]ssues that are specifically linked to the Bankruptcy Court’s decision are, in the Court’s view

 at this juncture, mixed questions that implicate the particular circumstances of this case, and as

 such, they are not pure legal questions warranting direct certification.”); In re Tribune Co., 477

 B.R. 465, 472 (Bankr. D. Del. 2012) (“The issue . . . is not a pure legal issue; it is not appropriate

 for direct appeal.”). The Movants have not shown that this is a “discrete, controlling question of

 law” that can be settled by an appellate court “relatively quickly.” See Weber v. United States,

 484 F.3d 154, 158 (2d Cir. 2007); see also In re Trib. Co., 477 B.R. 465, 472 (Bankr. D. Del. 2012)

 (same).

  II.      The Appeal Does Not Involve a Matter of Public Importance.

           9.     The Movants’ argument on this issue is misplaced and does not meet the standard

 for direct appeal. The Movants contend that this Court’s decision on the PI Order is not “respecting

 and implementing” the Third Circuit Dismissal Decision (see TCC Motion at ¶ 16) and therefore

 assert that application of the Third Circuit Dismissal Decision to matters in this Chapter 11 Case

 that are unrelated to dismissal is “by definition” a matter of “public importance.” Id. In an attempt

 to obfuscate the flaw in their legal argument, the Movants underscore the involvement of “tens of

 thousands of litigants” and “billions upon billions of dollars.”        Id. at 13.    The Movant’s

 interpretation of “public importance” relating to the number of claims or amount at issue would

 give any disgruntled litigant in a mass-tort case the remarkable option to bypass trial courts and




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 get ahead of any decision that has even a remote possibility of being adverse to them. It is for this

 reason that courts construe this provision on public importance narrowly.9

         10.      The PI Order provides for a narrowly-tailored injunction that preserves the status

 quo and gives the Debtor a chance to adequately address the substantive issues that this Chapter

 11 Case presents. This Court has already identified the many “unanswered questions” and the

 need to provide the Debtor with an “adequate opportunity” to respond to the motions to dismiss.

 See PI Opinion at 21, 23.

         11.      The Movants’ argument, however, seems to contend that a debtor whose previous

 bankruptcy case is dismissed is barred from seeking any relief in a subsequent bankruptcy case.

 That is simply not supported by law. Unless this Chapter 11 Case is dismissed, the Debtor is

 entitled to the protections afforded it in the Bankruptcy Code. The PI Order is an appropriate

 protection implemented by this Court to provide the Debtor with limited time to prosecute this

 Chapter 11 Case. “[T]he primary purpose of preliminary injunctive relief is maintenance of the

 status quo until a decision on the merits of a case is rendered.” See Beacon Sales Acq., Inc. v. Bd.

 of Tr. of Teamsters Indus. Empl. Pension Fund, 425 F.Supp.3d 377, 385 (3d Cir. 2019) (citing

 Acierno v. New Castle Cty., 40 F.2d 645, 647 (3d Cir. 1994)). The Movants seek to subvert this

 principle by taking this case away from the trial court and directly to the Third Circuit, gambling

 on judicial solicitude that could have the effect of foreclosing the substantive issue of dismissal

 from ever being heard on the merits. It is difficult to fathom why the law would provide the

 Movants with such a right through the backhanded mechanism of a direct appeal.




 9
   In determining whether to grant certification for an order that “involves a matter of public importance” courts
 construe this provision “narrowly.” Polk 33 Lending LLC v. THL Corp. Fin., Inc. (In re Aerogroup Int’l, Inc.), 2020
 WL 757892, at *5 (D. Del. Feb. 14, 2020).

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          12.      In any event, the Movants misunderstand the standard for “public importance.” It

 is not sufficient that members of the public may be interested in the outcome—rather, the issue on

 appeal must “transcend[] the litigants and involve[] a legal question the resolution of which will

 advance the cause of jurisprudence to a degree that is usually not the case.” In re Am. Home Mortg.

 Inv. Corp., 408 B.R. at 44 (emphasis added); In re Sabine Oil & Gas Corp., 551 B.R. 132, 140-42

 (Bankr. S.D.N.Y. 2016) (declining to find issue of public importance based on argument that

 dispute has received substantial news coverage or because industry was watching closely). While

 this Chapter 11 Case is important for the Debtor and the many claimants involved, and while this

 Chapter 11 Case has proven newsworthy, a sixty-day stay is hardly a matter that involves a legal

 question of “public importance,” let alone a matter that will advance jurisprudence if resolved.

 III.     Certification Will Not Materially Advance the Progress of this Chapter 11 Case.

          13.      The Motions are part of a sprawling latticework of legal machinations engineered

 by the Movants with the transparent purpose of wrestling control of this Chapter 11 Case away

 from this Court in the hope that the Third Circuit will dismiss it before parties have had the

 opportunity to litigate the issue. This will not progress the case, a showing that is required for

 relief under 28 U.S.C. § 158(d)(2); it will only progress the agenda of the Movants.10 The relief

 sought by the Movants would fully open the floodgates to trial verdicts that “hinder mediation

 efforts, impact the claims liquidation and estimation processes, and possibly strengthen insurance

 defenses against coverage.” See PI Opinion at 24.

          14.      The Movants are pursuing this strategy to prevent the Debtor from using the full

 panoply of bankruptcy rights to which it is entitled. The hard work of the Debtor has culminated

 in a groundbreaking settlement that has the support of a majority of claimants. And, contrary to


 10
   In determining whether to grant certification for an order that “may materially advance the progress of the case,”
 § 158(d)(2)(A)(iii), courts construe this provision “narrowly.” In re Aerogroup Int’l, Inc., 2020 WL 757892, at *5.

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 the Movants’ suggestions, those claimants have valid claims, which will be supported by

 evidence.11 Indeed, sworn testimony makes clear that medical records are “coming in by the tens

 of thousands” and there is “an army of people that review those records on a systemic basis.”

 Watt’s Deposition, 31:17-32:21; 31:17-32:21. Further evidence will also be developed in

 connection with the motions to dismiss, including fact and expert witnesses.

         15.      That settlement creates a framework to expedite the recovery for claimants in a

 single and fair manner and in fact has a far greater chance of advancing this Chapter 11 Case than

 through direct certification of the PI Order. As this court has explained, a streamlined claim

 recovery process is a far better result than decades of piecemeal litigation rewarding some but not

 all claimants. See PI Opinion at 27 (“A settlement trust benefits claimants—whose time is valuable

 and may be limited due to their illness—by streamlining the claim recovery process. Additionally,

 a bankruptcy trust protects the needs of future talc claimants.”). That settlement can only be

 implemented under the Bankruptcy Code.

         16.      The Debtor shall have the opportunity establish the record for this Court to make

 an informed determination as to why this settlement makes this Chapter 11 Case different than the

 2021 Chapter 11 Case. See PI Opinion at 19 (explaining that “the record is not developed”);

 id. (explaining that “the limited record” makes it difficult to make an “informed determination,

 calculation, or comparison”); id. at 21 (questioning “whether the Debtor had an adequate

 opportunity to respond” where the hearing “was devoted primarily to Debtor’s request for a

 preliminary injunction”); id. at 23 (expressing reservations about making a decision “with so many

 unanswered questions”). Rather than advance the progress of this Chapter 11 Case, the Movants




 11
   The AHC of Supporting Counsel is also working diligently to prepare a master Rule 2019 statement that consolidates
 all required information for the members of the AHC of Supporting Counsel and their clients.

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 seek to create distractions around the substantive issue and bypass this Court. Such tactics do not

 satisfy section 158(d)(2) and this Court should deny the Motions.

                                         CONCLUSION

                  WHEREFORE, the AHC of Supporting Counsel respectfully requests that this

 Court deny the Motions and grant such other and further relief as the Court finds just and

 appropriate.

 Dated: May 8, 2023                    COLE SCHOTZ P.C.


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